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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   IN RE: VALSARTAN N-
   NITROSODIMETHYLAMINE (NDMA)
                                                               Hon. Robert. B. Kugler
   PRODUCTS LIABILITY LITIGATION


   This Document Relates To:                                   Civ. No. 19-md-2875 (RBK/JS)

   All Actions




                   PLAINTIFFS’ UNOPPOSED MOTION FOR APPROVAL
                      OF FORM AND MANNER OF CLASS NOTICE

  I.     INTRODUCTION

         On February 8, 2023, this Court granted certification of a Consumer Economic Loss Class,

  a Third-Party Payor Economic Loss Class, and a Medical Monitoring Class (collectively “the

  Classes”) (ECF 2261). Each of these classes consists of various subclasses based upon the specific

  causes of actions and the state laws encompassed by such causes of action. Plaintiffs filed their

  original Motion for Approval of Form and Manner of Class Notice on May 10, 2023 (ECF 2375).

  Defendants filed their opposition on May 26, 2023 (ECF 2412). The parties have since met and

  conferred multiple times and Pharmacy Defendants have produced data facilitating individual

  notice to class members. Based on their discussions, the parties have come to agreed forms of

  notice and a notice plan, which are proposed herein. Plaintiffs hereby respectfully submit their

  unopposed proposed class notice plan and forms of notice for approval by the Court, along with a

  proposed schedule and opt-out deadline.

  II.    CLASS DEFINITIONS

         The Court’s Order of February 8, 2023 provided instructions for the re-categorization of

  certain subclasses proposed by Plaintiffs. To that end, Plaintiffs have met and conferred with
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  Defendants and revised those subclass definitions in accordance with the Court’s Order. Plaintiffs

  submit the revised agreed to definitions to the Court herewith as Exhibits C, D, and E to the

  Declaration of Brandon Schwartz filed concurrently herewith (“Schwartz Decl.”).1 These class

  and subclass definitions will be set forth in full on the class notice website and will be linked to as

  exhibits to the proposed long-form notices.

         For purposes of defining the classes to whom notice is being given, the class administrator

  will use the following definitions for purposes of readability, with a link to the detailed definitions

  of the classes and subclasses:2

         Consumer Economic Loss (“EL”) Class: All individuals in the United States and its
         territories and possessions who, since at least January 1, 2012 through the date of final
         recall as of November 10, 2021, paid any amount of money for a valsartan-containing drug
         (“VCD”) (intended for personal or household use) that was manufactured by any Active
         Pharmaceutical Ingredient or Finished Dose Defendant, and distributed or sold in the
         United States by any Defendant.

         Medical Monitoring (“MM”) Classes: Individuals residing in the United States and its
         territories and possessions (except Mississippi, New Hampshire, North Carolina, and North
         Dakota) who consumed a sufficiently high Lifetime Cumulative Threshold of NDMA or
         NDEA, in generic VCDs manufactured by any Active Pharmaceutical Ingredient or
         Finished Dose Defendant, and marketed in the United States and its territories and
         possessions, at least since January 1, 2012.

         Third Party Payor (“TPP”) Classes: All Third-Party Payors that, from at least January
         1, 2012 through the date of final recall as of November 10, 2021, paid any amount of money
         in the United States and its territories and possessions for a VCD that was manufactured
         by any Active Pharmaceutical Ingredient or Finished Dose Defendant, and distributed or
         sold in the United States by any Active Pharmaceutical Ingredient, Finished Dose, or
         Wholesaler Defendant.




  1
    Plaintiffs have available and can submit redlines to the originally proposed definitions as well as
  a revised table of authorities for the state groupings to the extent the Court wishes them.
  2
    Though Defendants do not oppose this notice plan, they reserve their objections to class
  certification and with respect to whether the time period set forth in each class definition (January
  1, 2012 to November 10, 2021) is appropriate or applicable with respect to individual Defendants’
  VCDs.
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  III.   ARGUMENT

         The United States Supreme Court has held that in order to bind an absent plaintiff, courts

  must provide such absent plaintiffs with certain due process protection. Phillips Petroleum Co. v.

  Shutts, 472 U.S. 797, 811-12 (1985). In relevant part, these protections are: 1) the plaintiff must

  be given notice and “an opportunity to be heard and participate in the litigation”; 2) “the notice

  must be the best practicable, ‘reasonably calculated under all the circumstances, to apprise

  interested parties of the pendency of the action, and afford them an opportunity to present their

  objections’”; 3) “the notice should describe the action and the plaintiffs’ rights in it”; and 4) “that

  an absent plaintiff be provided with an opportunity to remove himself from the class.” Id. (internal

  citations and quotations omitted). Federal Rule of Civil Procedure 23(c) embodies these due

  process requirements and governs the form and manner of notice to be given. For Rule 23(b)(3)

  classes which are not settlement classes, as here, notice must be the “best notice practicable under

  the circumstances, including individual notice to all members who can be identified through

  reasonable effort.” Fed. R. Civ. P. Rule 23(c); See In re Ocean Power Techs., Inc., No. 3:14-cv-

  3799, 2016 WL 6778218 at *9 (D.N.J. Nov. 15, 2016). The purpose of notice is to satisfy due

  process concerns by allowing absent class members to be apprised of the pendency of the action

  and to give them the opportunity to opt-out of the class if they do not wish to be bound by further

  proceedings in the action. In re Nat’l Football League Players Concussion Injury Litig., 821 F.3d

  410, 446 (3d Cir. 2016). Thus, class notice must contain information sufficient “to enable class

  members to make informed decisions on whether they should take steps to protect their rights,

  including … opting out of the class.” Id. at 435

         To comply with the requirements of Rule 23 and due process, Plaintiffs have retained the

  services of Brandon Schwartz of Postlethwaite & Netterville, APAC (“P&N”) as its class notice

  expert. Mr. Schwartz is an experienced and capable class administrator who has successfully
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  administered numerous complex class action notice programs in the past. The proposed plan for

  dissemination of notice as well as the form of both the short and long-form notices are set forth in

  the Declaration of Brandon Schwartz and accompanying exhibits thereto filed concurrently with

  this Motion. The plan proposed by the class administrator for dissemination of notice satisfies all

  of the requirements of Rule 23 as well as due process.

         In giving notice, “the Court must strike a balance ‘between protecting the rights of absent

  class members and making Rule 23 workable.’ To that end, ‘courts have held that it is not

  necessary to send individual notices to an overinclusive group of people simply because that group

  contains some additional class members whose identities are unknown.’” In re Wawa, Inc. Data

  Sec. Litig., No. CV 19-6019, 2021 WL 3276148, at *12 (E.D. Pa. July 30, 2021) (quoting Carlough

  v. Amchem Prod., Inc., 158 F.R.D. 314, 327 (E.D. Pa. 1993)).

         For the TPP class, as detailed in the Schwartz Declaration, the TPP short-form notice will

  be mailed, and e-mailed notice will be provided, to all third-party payors who have been identified

  as potential class members through the class administrator’s proprietary third-party payor list,

  which was developed through searches of relevant databases containing such information by the

  class administrator. Schwartz Decl. at ¶28. In addition to this direct notice, the class administrator

  will also provide publication notice in industry related publications designed to reach any entities

  that do not receive direct notice. Schwartz Decl. at ¶¶ 29-31.

         The short-form notice to the TPP class will be sent in both e-mailed and mailed form in the

  manner attached the Schwartz Decl at Exh. J. These short-form notices notify the recipient of the

  existence of the class action, that the recipient may be a class member, that their rights may be

  affected by the lawsuit, and that the notice was authorized and ordered by this Court to be

  disseminated in that manner, and further provide the recipient with the website and toll-free

  number at which they can obtain more information (the contents of which are still being finalized
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  as discussed infra), including a copy of the long-form notice.

         TPP Defendants have reviewed Plaintiffs’ notice plan for the TPP class and do not oppose

  its approval by the Court.

         For members of the EL and MM classes, the plan provides individual notice to all

  reasonably identifiable potential class members through individual e-mailed, texted, or mailed

  notice. Schwartz Decl. at ¶¶11-16. To identify contact information for EL and MM class

  members, the class administrator first reviewed pharmacy dispensing data, which the Retail

  Pharmacy Defendants produced pursuant to court order (ECF 2434 at 3–4 (ordering disclosure of

  protected health information after finding it to be “the minimum necessary information” to enable

  class notice)), containing reasonably available consumer contact information, including mailing

  addresses, email addresses, and phone numbers. Id. at ¶¶11-12. For consumers for whom the

  dispensing data did not contain valid email addresses, the class administer collaborated with a

  third-party data provider specializing in aggregating consumer data and identity verification to

  append email addresses, where available, to the Notice List. Id. at ¶12. This will enable the class

  administrator to send notice to consumers whose contact information was not otherwise available

  in the produced dispensing data. Id. The class administrator believes this process will result in

  direct notice to in excess of eighty (80) percent of all potential class members. Id. at ¶¶6, 11. In

  addition, the class administrator has created a supplemental media campaign using state-of-the-art

  targeted digital notice to provide notice to those who may not receive direct notice. Id. at ¶¶17-

  27. The media notice proposed by the class administrator is intended to supplement the direct

  notice program and is intended to increase the notice reach to cover over and above the

  approximately eighty percent reached by direct notice. Id. at ¶¶6, 11, 17-27.

         The short-form notice to the EL and MM class will be sent in e-mail form in the manner

  attached to the Schwartz Decl. at Exh. F. These short-form notices notify the recipient of the
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  existence of the class action, that the recipient may be a class member, that their rights may be

  affected by the lawsuit, and that the notice was authorized and ordered by this Court to be

  disseminated in that manner, and further provide the recipient with the website and toll-free

  number at which they can obtain more information (the contents of which are still being finalized

  as discussed infra), including a copy of the long-form notice.

         To the extent a functional e-mail address is not available, but a mobile telephone number

  with the capability of receiving text messages is available, a notification in the manner set forth

  below will be texted to the potential class member at their mobile telephone number:

                 U.S. FEDERAL COURT AUTHORIZED CLASS ACTION NOTICE

                 Our records indicate that you may have consumed and/or paid for

                 Valsartan/Valsartan-Containing Drugs. A class action lawsuit may affect your legal

                 rights.

                 Visit the Court approved website https://ValsartanMedicationLawsuit.com or call

                 1-866-875-9644. Reply STOP to end.

  Schwartz Decl. Exh. G.

         This form of direct notice (“Text Message Notice”) will notify the recipient of the existence

  of the class action, that the recipient may be a class member, and that their rights may be affected

  by the lawsuit, and further provides the recipient with a clickable link to the website and phone

  number where the recipient may obtain more information (the contents of which are still being

  finalized as discussed infra), including a copy of the long-form notice.

         Although notice by text message is a relatively new form of notice, it has been approved

  by multiple courts and experience has shown that it provides effective notice and response rates

  compared to more traditional forms of notice. See Dickensheets v. Arc Marine, LLC, 440

  F.Supp.3d 670, 672 (S.D. Tex. Feb. 19, 2020); Yates v. Checkers Drive-In Restaurants, Inc., No.
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  17 C 9219, 2020 WL 6447196, at *3-6 (N.D. Ill. Nov. 3, 2020); See also Brashier v. Quincy Prop.,

  LLC, 2018 WL 1934069, at *6 (C.D. Ill. Apr. 24, 2018); In re AT &T Mobility Wireless Data

  Services Sales Litigation, 270 F.R.D. 330, 352 (N.D. Ill. 2010); Frank v. Cannabis & Glass LLC

  et al., No. 2:19-CV-00250-SAB (E.D. Wash.) (April 11, 2022).

         Further, courts that have considered the question have held that sending class notice via

  text message is not prohibited by the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq

  (“TCPA”). First, the Text Message Notice is purely informational and does not constitute

  telemarketing because it is being sent for the sole purpose of alerting potential Class Members of

  the class action lawsuit and their rights. See Yates, 2020 WL 6447196, at *3-6.

         Second, the Text Message Notice is being sent at the direction of the Court to a database

  of phone numbers previously maintained by Defendants and produced in this litigation pursuant

  to Court Order,3 and, therefore, the Text Message Notice is not sent by a “person” within the

  meaning of the TCPA. See Id.; Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 166 (2016) (“The

  United States and its agencies . . . are not subject to the TCPA’s prohibitions because no statute

  lifts their immunity.”); In re Rules and Regulations Implementing the Tel. Consumer Protection

  Act of 1991, 31 F.C.C. Rcd. 7394, 7398 (July 5, 2016) (finding that the term “person” in the TCPA

  “does not include the federal government or agents acting within the scope of their agency under

  common-law principles of agency”).

         Third, the text messaging platform used to send the Text Message Notice does not meet

  the definition of an “automatic telephone dialing system” (“ATDS”) as defined by the TCPA,

  because the platform used to send the Text Message Notice “exclusively dials numbers” on the



  3
   Pharmacy Defendants produced phone numbers associated with patients’ accounts in Pharmacy
  Defendants’ records. Pharmacy Defendants have not represented or warranted that the phone
  numbers are accurate or current.
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  predetermined Class Member List, and does not “store, nor produce, numbers using a random or

  sequential number generator.” See Gadelhak v. AT&T Services, Inc., 950 F.3d 458, 460 (7th Cir.

  2020). The text messaging platform used to send the Text Message Notice also does not meet the

  definition of an ATDS because it requires human intervention to send the Text Message Notice.

  Specifically, in order to send the Text Message Notice, the Class Administrator must first (1)

  receive the predetermined Class Member List from Defendants; (2) scrub the list to identify re-

  assigned phone numbers; (3) upload the list of phone numbers into the text messaging platform;

  (4) a live person must manually type the contents of the Text Message Notice into the text

  messaging platform; and (5) a live person then manually selects the date and time to send the Text

  Message Notice. See, e.g., Gaza v. Auto Glass America, LLC, No. 17-cv-1811-T-27, 2018 WL

  5775915, at *4 (M.D. Fla. No. 2, 2018) (finding that a text messaging platform was not an ATDS

  where, in order to place a call, the “[d]efendant’s representative creates and uploads a list to an

  online ‘platform’ from which customer names and phone numbers are selected, text messages

  drafted, a date and time of delivery is selected and the ‘send’ button is pressed, all requiring human

  intervention”); Herrick v. GoDaddy.com LLC, 312 F. Supp. 3d 792, 801-03 (D. Ariz. 2018)

  (holding same); Ramos v. Hopele of Fort Lauderdale, LLC, 334 F. Supp. 3d 1262, 1265 (S.D. Fla.

  2018) (holding same).

         To the extent neither e-mail nor text messaging contact information is available, the short-

  form notice to the EL and MM classes will be sent in mailed postcard form in the manner attached

  to the Schwartz Decl. at Exh. H.

         Defendants have reviewed Plaintiffs’ notice plan for the EL and MM classes and do not

  oppose its approval by the Court.

         This overall notice program is designed to well exceed the 70% reach threshold suggested

  by case law and the Federal Judicial Center as the norm. See Barbara J. Rothstein & Thomas E.
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  Willging, Federal Judicial Center, “Managing Class Action Litigation: A Pocket Guide for

  Judges”, at 27 (3d Ed. 2010); Beck-Ellman v. Kaz USA, Inc., No. 3:10-CV-02134-H-DHB, 2013

  WL 1748729, at *3 (S.D. Cal. Jan. 7, 2013) (approving publication notice with 70% reach); In re

  Nat’l Collegiate Athletic Ass’n Student-Athlete Concussion Inj. Litig., 314 F.R.D. 580, 603 (N.D.

  Ill. 2016) (approving notice plan calculated to reach approximately 80% of class members);

  Kaufman v. Am. Express Travel Related Servs. Co., Inc., 877 F.3d 276, 287 (7th Cir. 2017)

  (approving notice plan reaching approximately 70% of class members); Chinitz v. Intero Real Est.

  Servs., No. 18-CV-05623-BLF, 2020 WL 7042871, at *1 (N.D. Cal. Dec. 1, 2020) (approving

  notice plan calculated to reach at least 70% of class members); In re Packaged Seafood Prod.

  Antitrust Litig., No. 15MD2670 DMS (MDD), 2023 WL 2483474, at *2 (S.D. Cal. Mar. 13, 2023)

  (holding that “[t]he Federal Judicial Center has concluded that a notice plan that reaches at least

  70% of the class is reasonable”); In re Remicade Antitrust Litig., No. 17-CV-04326, 2023 WL

  2530418, at *14 (E.D. Pa. Mar. 15, 2023) (approving notice that reached approximately 80% of

  class members).

         The TPP, EL, and MM notices direct class members to a website and toll-free number

  which will contain additional information concerning the litigation. Class members will be able

  to view or request to be mailed the full long-form notice, find instructions on how they can exclude

  themselves from the any of the classes, and register their contact information so as to be able to be

  provided direct notice at a later date upon any settlement or judgment in the litigation. The contents

  of the website and toll-free number have been discussed between the parties and are still being

  finalized, but will in all events conform to the contents of the long-form and short-form notices

  submitted to the Court with this motion. The proposed order submitted to the Court contemplates

  a deadline by which the parties will either finalize the contents of the website and toll-free number

  by agreement, or bring any differences to the Court for its determination.
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          In addition, the proposed long-form notices are written in plain language in a manner

  designed to be understood by class members, and following the best practices outlined by the

  Federal Judicial Center. The long-form notices contain all items required by Rule 23(c)(2)(B),

  including i) a description of the nature of the action; ii) a general definition of the certified classes

  with a link to the detailed definition of the classes and subclasses; iii) a description of the class

  claims, issues, and defenses; iv) notice that the class member may enter an appearance through an

  attorney if the class member so desires; v) a procedure for the class member to opt-out of the class

  and be excluded from any binding effects of further proceedings; vi) the time and manner by which

  the class member can seek exclusion; and vii) the binding effect of any further proceedings and

  class judgment on class members if they do not exclude themselves. Fed. R. Civ. P. 23(c)(2)(B);

  Schwartz Decl. Exhs. K, L. Thus, the proposed notices will provide absent class members with

  clear and accessible information regarding their rights and allow them to make an informed and

  intelligent decision on whether to remain in the class or seek exclusion, satisfying due process.

          The parties have agreed to an opt-out period of at least 45 days from commencement of the

  Notice Plan, the date on which publication and direct notice is initially transmitted. Based upon

  the estimated timeline to transmit or mail the direct notice and to commence search advertising

  and publication notice, the class administrator believes that the Notice Plan can be commenced as

  of December 4, 2023 or 14 days following approval of Notice, whichever is later, and direct notice

  will be substantially complete by December 18, 2023. Schwartz Decl. at ¶ 40. Given this estimate,

  the parties have agreed that an opt-out deadline for all class members of January 31, 2024 will

  provide sufficient time for the dissemination of the notice and for class members to have a

  meaningful opportunity to receive the notice, review its contents, and opt-out of the class should

  they choose to do so.


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  IV.    CONCLUSION

         The proposed notice program and form of notice provides the best notice practicable under

  the circumstances of this litigation and complies with the standards of fairness and completeness

  required by due process and Rule 23. Further, the class administrator selected by Plaintiffs to

  provide notice, Brandon Schwartz of P&N, is experienced, knowledgeable, and capable of

  fulfilling his duties under the law. For the foregoing reasons, Plaintiffs respectfully request that

  the Court approve the form and manner of notice proposed herein and in the accompanying

  exhibits.

  Dated November 13, 2023                               Respectfully submitted,

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